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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



CORECO JA’QAN PEARSON,
VIKKI TOWNSEND
CONSIGLIO; GLORIA KAY
GODWIN; JAMES KENNETH
CARROLL; CAROLYN HALL
FISHER; CATHLEEN ALSTON
LATHAM; and BRIAN JAY VAN
GUNDY,

      Plaintiffs,
                                         CIVIL ACTION FILE
v.
                                         NO. 1:20-cv-4809-TCB
BRIAN KEMP; BRAD
RAFFENSPERGER; DAVID J.
WORLEY; REBECCA N.
SULLIVAN; MATTHEW
MASHBURN; and ANH LE,

      Defendants.



                                ORDER

     On November 29, the Court entered an order [14] granting modest

injunctive relief in order to preserve the status quo. This afternoon,

Plaintiffs filed a notice of appeal [32] with respect to that order.
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However, this Court’s November 29 order is a temporary restraining

order, not a preliminary injunction because, inter alia, it is of a limited

duration—ten days. 1 And generally, temporary restraining orders are

not directly appealable. See, e.g., Mitsubishi Int’l Corp. v. Cardinal

Textile Sales, Inc.¸14 F.3d 1507, 1515 (11th Cir. 1994). Although

Plaintiffs cite Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225

(11th Cir. 2005), in their notice of appeal, this Court is of the opinion

that its November 29 order is not within the scope of Schiavo’s

exception to the unappealable nature of a temporary restraining order.

      Plaintiffs’ notice of appeal states that it divests this Court of

jurisdiction. If the circuit court disagrees with Plaintiffs, it will dismiss

their appeal, whereupon this Court will probably need to reschedule the

hearing presently set for Friday, December 4 (since the parties’ briefs,

due tomorrow and Thursday, probably will have not been filed). Any

delay in conducting the hearing on the claims in Plaintiffs’ complaint




      1   Moreover, the scope of relief sought in Plaintiffs’ motion [6] for emergency
relief is narrower than the scope of Plaintiffs’ complaint.

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would be attributable to Plaintiffs—not this Court—since Plaintiffs are

the ones who filed the notice of appeal.2

      Accordingly, the scheduling order [17] docketed November 30 is

hereby stayed, subject to further order of the Court if Plaintiffs’ appeal

is dismissed.

      IT IS SO ORDERED this 1st day of December, 2020.



                                      ____________________________________
                                      Timothy C. Batten, Sr.
                                      United States District Judge




      2  The Court’s November 30 order [22] certifying the November 29 order for
immediate appellate review pursuant to 28 U.S.C.A. § 1292(b) does not render the
November 29 order directly appealable. This is because the court of appeals has not,
as of this time, granted Plaintiffs permission to appeal.

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